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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,

     Plaintiff,
                                               Case No. 1:21-cv-02575-JPB
v.

THE STATE OF GEORGIA, et al.,

     Defendants.


     Unopposed Motion of the American Center for Law and Justice, and
     57 Members of Congress, for Leave to File an Amici Curiae Brief in
              Support of the Defendants’ Motions to Dismiss


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      The American Center for Law and Justice, and the below-listed Members of

the 117th United States Congress, respectfully ask this Court to grant them leave to

file the attached amici curiae brief in support of the Defendants’ motions to dismiss

(Dkt. #38 & 39). Counsel for all parties have been notified of the filing of this

motion, and stated either that they do not object to the motion or that they take no

position on the motion.

      The American Center for Law and Justice (ACLJ) is an organization dedicated

to the defense of constitutional liberties secured by law. Counsel for the ACLJ have

presented oral argument, represented parties, and submitted amicus curiae briefs

before the Supreme Court of the United States and numerous federal and state courts

around the country in cases concerning constitutional issues and election law. See,

e.g., FEC v. Wis. Right to Life, 551 U.S. 449 (2007); McConnell v. FEC, 540 U.S.

93 (2003); Bush v. Gore, 531 U.S. 98 (2000). The attached amici brief is submitted

on behalf of over 647,000 supporters of the ACLJ who have expressed their support

for defending the integrity of elections and the right to vote.

      Representatives Rick W. Allen, Robert B. Aderholt, Jodey C. Arrington,

Brian Babin, Jim Banks, Andy Barr, Andy Biggs, Dan Bishop, Lauren Boebert, Ted

Budd, Ken Calvert, Buddy Carter, Madison Cawthorn, Andrew S. Clyde, Rodney

Davis, Jeff Duncan, Neal Dunn, Ron Estes, Drew Ferguson, Virginia Foxx, Bob

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Gibbs, Louie Gohmert, Bob Good, Paul A. Gosar, D.D.S., Marjorie Taylor Greene,

Glenn Grothman, Diana Harshbarger, Vicky Hartzler, Jody Hice, Richard Hudson,

Ronny L. Jackson, Mike Johnson, Doug Lamborn, Barry Loudermilk, Nancy Mace,

Mariannette Miller-Meeks, M.D., Alex X. Mooney, Ralph Norman, Scott Perry,

August Pfluger, Bill Posey, Tom Rice, John Rose, David Rouzer, Chip Roy, Steve

Scalise, Austin Scott, Pete Sessions, Adrian Smith, Jason Smith, Elise Stefanik, W.

Gregory Steube, Claudia Tenney, William Timmons, Tim Walberg, Randy Weber,

and Joe Wilson are currently serving Members of the 117th United States Congress.

      The proper resolution of this case is a matter of utmost concern to the ACLJ,

its supporters, and the above-listed Members of Congress because of the case’s

impact on the ability of the State of Georgia to properly exercise its constitutional

authority to ensure that its elections are free from fraud and intimidation.

Additionally, the resolution of this case will likely impact similar pending, and

future, lawsuits filed around the country.

      The attached amici curiae brief should be helpful to the resolution of the

motions to dismiss because it focuses on the constitutional, federalism, and

separation-of-powers issues raised when the federal executive branch asks a court to

override a state legislature’s enactment of election integrity provisions.




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                                   Conclusion

      The Court should grant this motion and file the attached amici curiae brief.


      Respectfully submitted on August 2, 2021.


                                             /s/ Jay Alan Sekulow
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